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                                 Jamie Kovacs
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                               9
                                                        UNITED STATES DISTRICT COURT
                              10                                  FOR THE
THE CARDOZA LAW CORPORATION




                              11                       CENTRAL DISTRICT OF CALIFORNIA
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              12     JAMIE KOVACS,                              Case No.: 8:22-cv-00221-SSS-JDE
                              13                   Plaintiff,                   HON. SUNSHINE S. SYKES
                                                                                HON. MAG. JOHN D. EARLY
                              14                           v.
                                                                                STIPULATION OF DISMISSAL
                              15     CONVERGENT                                 PURSUANT TO FRCP
                                     OUTSOURCING, INC. AND                      41(A)(1)(A)(II)
                              16     CACH, LLC,
                              17
                                                 Defendants.
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                                    STIPULATION OF DISMISSAL PURSUANT TO FRCP 41(A)(1)(A)(II)
                                   Case 8:22-cv-00221-SSS-JDE Document 34 Filed 03/15/23 Page 2 of 3 Page ID #:149




                               1          Plaintiff   JAMIE       KOVACS,         and    Defendants   CONVERGENT
                               2 OUTSOURCING, INC. and CACH, LLC, hereby stipulate under FRCP
                               3 41(a)(1)(A)(ii) that all claims and causes of action be dismissed with prejudice as to
                               4 all parties named herein, with each party bearing that party’s own attorneys’ fees and
                               5 costs, provided that the Court retain ancillary jurisdiction for enforcement of the
                               6 Settlement Agreement between the Parties in its Order.
                               7
                               8                                             THE CARDOZA LAW CORPORATION
                               9 DATED: March 15, 2023                BY: /S/ LAUREN B. VEGGIAN
                              10                                            MICHAEL F. CARDOZA, ESQ.
                                                                            LAUREN B. VEGGIAN, ESQ.
THE CARDOZA LAW CORPORATION




                              11                                            ATTORNEYS FOR JAMIE KOVACS
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




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                              13
                              14                                             SESSIONS ISRAEL & SHARTLE,

                              15                                             L.L.P.

                              16 DATED: March 15, 2023                BY: /S/ JAMES K. SCHULTZ,
                                                                            JAMES K. SCHULTZ,
                              17                                            ATTORNEY FOR DEFENDANT,
                              18                                            CONVERGENT OUTSOURCING, INC.

                              19
                                    YU | MOHANDESI LLP
                              20
                                    DATED: March 15, 2023             BY: /S/ B. BEN MOHANDESI,
                              21
                                                                             JORDAN S. YU, KRISTEL A. ROBINSON
                              22                                             B. BEN MOHANDESI, JORDAN S. YU,
                              23                                             KRISTEL A. ROBINSON, ESQ.
                                                                             ATTORNEY FOR DEFENDANT,
                              24                                             CACH, LLC
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                                    STIPULATION OF DISMISSAL PURSUANT TO FRCP 41(A)(1)(A)(II)           PAGE 1 OF 1
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                               1                ATTESTATION AND CERTIFICATE OF SERVICE
                               2          I, Lauren B. Veggian, am the ECF user whose identification and password
                               3 are being used to file this document and I hereby attest that all counsel whose
                               4 electronic signatures appear within it provided their authority and concurrence.
                               5          I also hereby certify that on March 15, 2023, I electronically filed a true and
                               6 correct copy of the foregoing STIPULATION OF DISMISSAL PURSUANT TO
                               7 FRCP 41(A)(1)(A)(II) with the Clerk of the Court for the United States District
                               8 Court of California for the Central District of California using the CM/ECF system.
                               9 I also certify that all participants in this case are registered CM/ECF users, and
                              10 service will be accomplished by the CM/ECF system.
                              11
THE CARDOZA LAW CORPORATION




                                                                           THE CARDOZA LAW CORPORATION
    SAN FRANCISCO, CA 94104




                              12
     548 MARKET ST. #80594




                              13 DATED: March 15, 2023                     BY: /S/ LAUREN B. VEGGIAN
                              14                                           LAUREN B. VEGGIAN, ESQ.
                                                                           ATTORNEY FOR PLAINTIFF,
                              15                                           JAMIE KOVACS
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                                    ATTESTATION AND CERTIFICATE OF SERVICE
